   Case 8-24-72675-reg            Doc 4      Filed 07/09/24      Entered 07/09/24 13:23:44




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
----------------------------------------------------------X CASE NO.: 8-24-

IN RE:                                                        Chapter 7

         MUSLUM LEVENT,
                                                              STATEMENT PURSUANT TO
                                                              LOCAL RULE 2017

                                    DEBTOR.
----------------------------------------------------------X

I, John P. Brooke, an attorney admitted to practice in this Court, state:

    1. That I am the attorney for the above-named debtors and am fully familiar
       with the facts herein.
    2. That prior to filing of the petition herein, my firm rendered the following
       services to the above-named debtors:

Date/Time                                              Services________________________

6/12/24        1.0 hours       Initial interview, analysis of financial condition, etc.

6/26/24            2.5 hours       Preparation, review, signing of bankruptcy petition.

7/9/24           .75 hrs.     Attention to finalizing and filing petition.

    3. That my firm will also represent the debtor at the first meeting of creditors.
    4. That all services rendered prior to filing of the petition herein were
       rendered by my firm.
    5. That my usual rate of compensation of bankruptcy matters of this type is
       $1,700.00 and my usual hourly rate is $350.

Dated: July 9, 2024

                                            _/s/ John P. Brooke
                                            John P. Brooke, Esq.
                                            The Brooke Law Firm
                                            85 West Main Street, Suite 201
                                            Bay Shore, NY 11706
                                            Attorney for debtor
